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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


                                                         CASE No.: 6:20-cv-01825-PGB-LRH

MICHAEL R. MCNEIL,

  Plaintiff,

vs.

EVIA M. WRIGHT, MICHAEL C. WRIGHT,
and AHYAN FOODMART, LLC
d/b/a AHYAN FOOD MART

      Defendants.
_______________________________________/

        MOTION FOR CLERK’S ENTRY OF DEFAULT AGAINST DEFENDANT
             AHYAN FOODMART, LLC, d/b/a AHYAN FOOD MART


        Plaintiff, MICHAEL R. MCNEIL, by and through the undersigned counsel, hereby moves
for default pursuant to Rule 55(a), Fed.R.Civ.P. based on Defendant’s, AHYAN FOODMART,
LLC, d/b/a AHYAN FOOD MART, failure to respond to the Complaint filed and served upon it
in this action, and in support, states as follows:
        1.       This action involves Plaintiff’s allegations that Defendant’s property is in violation
of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq. (hereinafter, “ADA”). More
specifically, Plaintiff claims that the property and building thereon is inaccessible to individuals with
disabilities, including Plaintiff.
        2.       Plaintiff, MICHAEL R. MCNEIL, by and through the undersigned counsel, filed a
Complaint with the Court on October 4, 2020.
        3.       The Summons [DE 10] and Complaint [DE 1] were served upon Defendant,
AHYAN FOODMART, LLC, d/b/a AHYAN FOOD MART, DAVID POU, CASHIER, at the
address of 115 South Martin Luther King Jr. Blvd, in Daytona Beach, Florida, 32174, on
November 2, 2020.




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       4.      Pursuant to Rule 12(a)(1)(A), Fed.R.Civ.P., Defendant was required to respond to
the Complaint within twenty-one (21) days, on or before November 24, 2020.
       5.      To date, no appearance had been entered by an attorney on behalf of Defendant and
no response has been filed by the Defendant to the Complaint.
       6.      The Clerk has authority to grant this motion, and to enter default against Defendant
for the relief requested in the Complaint, based up Rule 55(a), Fed.R.Civ.P., which reads, in
pertinent part, as follows:

               When a party against whom a judgment or affirmative relief is sought has
               Failed to plead or otherwise defend as provided by these rules and the fact
               is made to appear by affidavit or otherwise, the clerk shall enter the party’s
               default.


       7.      Accordingly, and based upon the foregoing, Plaintiff respectfully submits that
Defendant, AHYAN FOODMART, LLC, d/b/a AHYAN FOOD MART, has failed to plead or
otherwise defend itself, as required, and that default must be entered.


       WHEREFORE, Plaintiff respectfully requests that the Clerk enter default against
Defendant, AHYAN FOODMART, LLC, d/b/a AHYAN FOOD MART.

Dated this 1st day of January 2021.



                                                      By:/S/Joe M. Quick, Esq.______
                                                      Joe M. Quick, Esq.
                                                      Bar Number 0883794
                                                      Attorney for Plaintiff
                                                      Law Offices of Joe M. Quick, Esq.
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of January 2021 I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system. I also certify that the foregoing document is
being served on all counsel of record, corporation, or pro se parties via transmission of Notices of
Electronic Filing generated by CM/ECF or in some other authorized manner for those counsel or
parties who are not authorized to receive electronically Notices of Filing.


EVIA M. WRIGHT – OWNER
148 E. Piedmont Avenue
Port Orange, Florida 32119
Via US Mail

AHYAN FOODMART, LLC
MUJIB H. BHUIYAN – REGISTERED AGENT
3610 Carmel Avenue, Apartment 77
Port Orange, Florida 32129
Via US Mail




                                                      By:/S/Joe M. Quick, Esq.______
                                                      Joe M. Quick, Esq.
                                                      Bar Number 0883794
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